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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


VIRGINIA HUSSEY,
  Plaintiff,

     v.
                                                           CIVIL ACTION NO. 20-11511-MPK 1


EAST COAST SLURRY CO., LLC;
INTERNATIONAL UNION OF
OPERATING ENGINEERS, LOCAL 4;
and HOISTING AND PORTABLE
ENGINEERS APPRENTICESHIP &
TRAINING PROGRAM aka HOISTING
AND PORTABLE ENGINEERS
APPRENTICESHIP & TRAINING FUND,
aka HOISTING AND PORTABLE
ENGINEERS APPRENTICESHIP &
TRAINING CENTER,
   Defendants.



                        AMENDED ORDER SETTING CASE FOR TRIAL

                                               May 3, 2022

Kelley, U.S.M.J.

          It is ORDERED that the trial of this action will commence on November 8, 2022 at 9:00

a.m. in Courtroom 24 on the seventh floor. Trial will be conducted on the following schedule:

9:00 a.m. to 3:00 p.m. until its conclusion.2 The parties should consider the date to be a firm

trial date and plan accordingly.


1
  With the parties’ consent, this case was assigned to the undersigned for all purposes, including
trial and the entry of judgment, pursuant to 28 U.S.C. § 636(c). (#32.)
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    The parties should be prepared to be in court all day on the first day of trial.
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1.   Pursuant to Fed. R. Civ. P. 16 and Local Rule 16.5, it is further ORDERED that counsel

     shall appear for a Final Pretrial Conference on October 24, 2022 at 10:00 a.m. in

     Courtroom 24 on the seventh floor. Unless excused by the Court, each party shall be

     represented at the Final Pretrial Conference by counsel who will conduct the trial.

2.   Pursuant to Local Rule 16.5(D), the parties shall meet personally before the final pretrial

     conference, to discuss and negotiate settlement of the action, to narrow the issues to be

     tried, and to prepare a joint pretrial memorandum as described below.

3.   In accordance with Fed. R. Civ. P. 26(a)(3) and Local Rule 16.5(C), the parties shall

     disclose to one another, by no later than the close of business on September 19, 2022:

     A.     All photographs, documents, instruments and other objects either party intends to

            offer as exhibits at trial, other than solely for impeachment;

     B.     The names, addresses and telephone numbers of witnesses each party intends to

            call at trial, including expert witnesses;

     C.     The names of witnesses, if any, whose testimony is to be presented by means of

            deposition, an identification by inclusive page and lines of those portions of the

            deposition testimony to be offered at trial, and a transcript of the pertinent portions

            of the deposition testimony.

4.   Following the disclosures made pursuant to the previous paragraph, the parties shall serve

     upon one another, by no later than the close of business on September 26, 2022, a list

     describing any objections to the proposed exhibits and witnesses described in paragraph 3

     above and the grounds therefor. Pursuant to Local Rule 16.5(C), these objections shall be

     one of the subjects to the pre-Final Pretrial Conference meeting (see ¶ 2 infra) and if not

     resolved, shall be presented to the Court in the parties’ trial briefs. Objections not so



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     disclosed, other than objections pursuant to Rules 402 and 403 of the Federal Rules of

     Evidence, may be waived according to Fed. R. Civ. P. 26(a)(3), unless excused by the

     Court for good cause.

5.   The parties shall prepare and file no later than October 3, 2022, a Joint Pretrial

     Memorandum which sets forth the following issues pursuant to Local Rule 16.5(D):

     A.       The names, addresses and telephone numbers of trial counsel;

     B.       Whether the case is to be tried with or without a jury;

     C.       A concise summary of the evidence which will be offered by the parties with

              respect to both liability and damages (including special damages, if any);

     D.       A statement of facts established by the pleadings, by admissions, or by stipulations;

     E.       Any factual issues in dispute;

     F.       Any jurisdictional questions;

     G.       Any questions raised by pending motions;

     H.       Issues of law, including evidentiary questions, together with supporting authority;

     I.       Any requested amendments to the pleadings;

     J.       Any additional matters to aid in the disposition of the action;

     K.       The probable length of trial;

     L.       The names of all witnesses to be called, the purpose of the testimony of each witness

              (i.e., factual, expert, etc.) and whether the testimony of any such witness is to be

              presented by deposition. Unless the qualifications of any expert witness are

              stipulated, a statement of the qualifications shall be included;

     M.       Utilizing disclosures made pursuant to paragraphs 3 and 4 above, counsel shall

              include in their memorandum a “List of Uncontested Exhibits” (photographs,



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            documents, instruments and all other objects as to which there appear to be no

            objections), in order of their anticipated introduction to the Court, identified and

            marked by a single sequence of numbers regardless of which party is the proponent;

     N.     Utilizing disclosures made pursuant to paragraphs 3 and 4 above, counsel shall

            include in their memorandum a “List of Exhibits to be Offered at Trial” of exhibits

            to which any party reserves the right to object, identified and marked by a single

            sequence of capital letters regardless of which party is the proponent; and

     O.     The parties’ respective positions on any remaining objections to the evidence

            identified in the pretrial disclosures required by Fed. R. Civ. P. 26(a)(3) and Local

            Rule 16.5(C), as well as any deposition testimony being offered.

6.   Joint Proposed Jury Instructions. The parties shall confer and reach an agreement on each

     proposed jury instruction. In the event the parties cannot agree upon one or more of the

     proposed instructions, they may submit alternative proposed instructions which shall

     contain citations to legal authority to support the particular language employed. Proposed

     instructions are not required on preliminary matters such as burden of proof and credibility.

     Such proposed jury instructions shall be filed no later than September 19, 2022. A party

     may submit proposed instructions during trial only if the evidence develops other than as

     reasonably anticipated.    In the event a party wishes to submit additional proposed

     instructions during trial on matters that could have been reasonably anticipated, the party

     should seek and obtain leave of court before submitting any such instructions.

7.   No later than October 3, 2022, each party shall prepare and file the following:

     A.     Motions in limine or other requests regarding foreseeable disputes concerning

            evidentiary issues, including authority for the ruling requested.



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      B.     In cases to be tried to a jury, a trial brief setting forth:

             i.      A succinct and neutral statement summarizing the principal claims and

                     defenses of the parties to be read to the venire during empanelment;

             ii.     Any proposed questions for the voir dire examination of the jury;

             iii.    Any proposed interrogatories or special verdict form.

      C.     In nonjury cases, proposed findings of fact and requested rulings of law.

8.    No later than October 14, 2022, the parties shall file oppositions to motions in limine.

9.    Immediately upon receipt of this Order, any counsel who realizes that one or more

      attorneys in the case have not been notified shall forthwith notify the additional attorney(s)

      in writing as to the entry of this Order, and shall file a copy of the writing with the Clerk.

10.   The judiciary’s privacy policy restricts the publication of certain personal data in

      documents filed with the court. The policy requires limiting Social Security and financial

      account numbers to the last four digits, using only initials of the names of minor children,

      limiting dates of birth to the year, and limiting home addresses to city and state. If such

      information is elicited during testimony or other court proceedings, it will become available

      to the public when the official transcript is filed at the courthouse. The better practice is

      for counsel to avoid introducing this information into the record in the first place. Please

      take this into account when questioning witnesses or making other statements in court.

11.   The timely filing of these trial documents is required. Failure to comply with any of the

      directions set forth above may result in judgment or dismissal or default or the

      imposition of other sanctions deemed appropriate by the Court.


                                              /s/ M. Page Kelley
                                              M. PAGE KELLEY
                                              CHIEF UNITED STATES MAGISTRATE JUDGE

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